UNITED STATES DISTRICT COURT
for the
WESTERN DISTRICT OF MISSOURI
Thomas R. McLean, MD
Plaintiff,

Civil Action No. 4:20-CV-593-BP

)

)

)

)

V. )

)

Jeffery W. Bruce, )
)

)

Defendant.

PLAINTIFF’S MOTION TO STAY THESE PROCEEDINGS

COMES NOW, Thomas R. McLean M.D., as a pro se Plaintiff in the above caption action to
respectful request the Court stay these proceedings because of the Defendant’s death.

1. Concurrently, Dr. McLean has filed a suggestion of Mr. Bruce’s death; and a motion for
substituted service upon Mr. Bruce’s family.
2. Dr. McLean request a stay in these proceeding for period of time sufficient to allow Mr.

Bruce’s family to be served and time to respond.

WHEREFORE, Dr. McLean’s claims against Defendant Bruce survive his death, Dr. McLean
respectfully requests this Court to stay these proceedings until such a time as the Defendant’s

family is able to make an appearance.

Respectfully Submitted,

May 24, 2022

  

 

a
Thomas R-McLean, Plaintiff pro se
Park

Shawnee, KS, 66216
913-525-5526

tmellc1999(@email.com

Case 4:20-cv-00593-BP Document 203 Filed 05/24/22 Page 1 of 1
